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Counsel for Non-Party Season 4, LLC

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

                                        Civil Action No.: 3:21-cv-16546
IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS LIABILITY Lead case: 3:19-md-2885 (N.D. Fla.)
LITIGATION                    REVISED DECLARATION OF
                             DOMINIQUE J. CARROLL, ESQ.


      I, Dominique J. Carroll, of full age, hereby declare, under penalty of perjury,

as follows:

      1.      I am an attorney at the law firm of Fox Rothschild LLP and counsel for

non-party Season 4, LLC regarding the above captioned litigation.

      2.      I submit this Declaration based upon my personal knowledge, and

review of the relevant documents, in support of Season 4’s Motion to Quash

Subpoena and for a Protective Order.

      3.      Attached hereto as Exhibit 1 is a true and correct copy of the subpoena

served upon Season 4, by defendants 3M Company, 3M Occupational Safety LLC,
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Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, and Aearo Technologies

LLC.

       4.     Attached hereto as Exhibit 2 is a true and correct copy of Season 4’s

Privacy Notice.

       5.     Attached hereto as Exhibit 3 is a true and correct copy of Season 4’s

Terms of Use.

       6.     Attached hereto as Exhibit 4 is a true and correct copy of Season 4’s

Disclaimer.

       7.     Attached hereto as Exhibit 5 is a true and correct copy of a letter dated

March 31, 2020 from Season 4’s counsel to Defendants counsel.

       8.     Attached hereto as Exhibit 6 is a true and correct copy of the July 26,

2021 Certification of Edward Cerracchio.

       9.     Attached hereto as Exhibit 7 is a true and correct copy of the July 26,

2021 Certification of Luis Betancourth.



                                               Respectfully submitted,

Dated: September 10, 2021                      /s/ Dominique J. Carroll
                                               Dominique J. Carroll




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